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      In The United States Court of Federal Claims
                           Nos. 07-06T, 07-706T, 08-135T, and 08-605T

                                      (Filed: January 14, 2011)
                                             __________

 PRINCIPAL LIFE INSURANCE COMPANY
 AND SUBSIDIARIES, et. al.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                             ORDER
                                            __________

       On January 12, 2011, defendant filed an unopposed motion for enlargement of time for fact
discovery. The motion is hereby GRANTED. Accordingly:

       1.       On or before August 1, 2011, fact discovery shall be completed;

       2.       On or before September 1, 2011, the parties shall disclose their expert
                witnesses and submit their expert reports;

       3.       On or before October 3, 2011, the parties shall disclose their rebuttal
                expert witnesses and submit their rebuttal expert reports;

       4.       On or before December 1, 2011, expert discovery shall be completed;
                and

       5.       On or before December 8, 2011, the parties shall file a joint status
                report indicating how this case should proceed, with a proposed
                schedule, if appropriate.

       IT IS SO ORDERED.
                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
